Case 4:03-cv-03660   Document 46-3   Filed on 12/12/19 in TXSD   Page 1 of 18




          GROUP (;+,%,7
Case 4:03-cv-03660   Document 46-3   Filed on 12/12/19 in TXSD   Page 2 of 18




                     (;+,%,7A
Case 4:03-cv-03660   Document 46-3   Filed on 12/12/19 in TXSD   Page 3 of 18
Case 4:03-cv-03660   Document 46-3   Filed on 12/12/19 in TXSD   Page 4 of 18




                     (;+,%,7B
Case 4:03-cv-03660   Document 46-3   Filed on 12/12/19 in TXSD   Page 5 of 18
Case 4:03-cv-03660   Document 46-3   Filed on 12/12/19 in TXSD   Page 6 of 18




                     (;+,%,7C
Case 4:03-cv-03660   Document 46-3   Filed on 12/12/19 in TXSD   Page 7 of 18
Case 4:03-cv-03660   Document 46-3   Filed on 12/12/19 in TXSD   Page 8 of 18




                     (;+,%,7D
Case 4:03-cv-03660   Document 46-3   Filed on 12/12/19 in TXSD   Page 9 of 18
Case 4:03-cv-03660   Document 46-3   Filed on 12/12/19 in TXSD   Page 10 of 18




                      (;+,%,7E
Case 4:03-cv-03660   Document 46-3   Filed on 12/12/19 in TXSD   Page 11 of 18
Case 4:03-cv-03660   Document 46-3   Filed on 12/12/19 in TXSD   Page 12 of 18




                     (;+,%,7F
Case 4:03-cv-03660   Document 46-3   Filed on 12/12/19 in TXSD   Page 13 of 18
Case 4:03-cv-03660   Document 46-3   Filed on 12/12/19 in TXSD   Page 14 of 18




                     (;+,%,7G
Case 4:03-cv-03660   Document 46-3      Filed on 12/12/19 in TXSD   Page 15 of 18




                                     LE004130
Case 4:03-cv-03660   Document 46-3   Filed on 12/12/19 in TXSD   Page 16 of 18




                     (;+,%,7H
Case 4:03-cv-03660   Document 46-3   Filed on 12/12/19 in TXSD   Page 17 of 18
Case 4:03-cv-03660   Document 46-3   Filed on 12/12/19 in TXSD   Page 18 of 18
